         Case 1:19-cv-05086-BCM Document 30 Filed 11/04/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 SHAWN P. LAHEY,                                                               11/4/20

                    Plaintiff,

             -against-                                    19-CV-5086 (BCM)

 NANCY A. BERRYHILL,                                      ORDER
 Commissioner of Social Security,

                    Defendant.

BARBARA MOSES, United States Magistrate Judge

        Plaintiff Shawn Lahey filed this action pursuant to § 205(g) of the Social Security Act, 42
U.S.C. § 405(g), seeking judicial review of a final decision of the Commissioner of Social Security
denying his application for disability insurance benefits. The parties have agreed pursuant to 28
U.S.C. § 636(c) that a United States Magistrate Judge may conduct all proceedings and direct the
entry of judgment in this action.

        The Court has carefully reviewed the record, the briefs, and applicable law, and heard oral
argument from the parties on November 4, 2020. For the reasons announced on the record at the
conclusion of the argument, the Court has determined that the Commissioner’s decision was based
on the correct legal standards and was supported by substantial evidence. Therefore, plaintiff’s
motion for judgment on the pleadings (Dkt. No. 17) is DENIED and the Commissioner’s motion
for judgment on the pleadings (Dkt. No. 22) is GRANTED.

     The Clerk of the Court is respectfully directed to (1) substitute in Andrew M. Saul,
Commissioner of Social Security, in the case caption in place of Nancy A. Berryhill, Acting
Commissioner of Social Security, and (2) close the case.

Dated: New York, New York
       November 4, 2020
                                                     SO ORDERED.



                                                     ________________________________
                                                     BARBARA MOSES
                                                     United States Magistrate Judge
